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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

Dawn Green,

        Plaintiff,

v.                                     Case No. 15-13479

City of Southfield, et al.,            Sean F. Cox
                                       United States District Court Judge
      Defendants.
_________________________/

                                   ORDER
                    DENYING THE SOUTHFIELD DEFENDANTS’
                 MOTION FOR SANCTIONS UNDER § 1988 (D.E. NO. 221)

        On October 4, 2012, Plaintiff Dawn Green was involved in an automobile accident in

Southfield, Michigan. She later filed this action on October 3, 2015, under 42 U.S.C. §§ 1983,

1985(3), and 1986, asserting that officers of the Southfield Police Department violated her

constitutional rights, and conspired to do so, in the manner in which they investigated the

accident.

        Discovery and motion practice in this matter was very contentious, on both sides. After

discovery ultimately closed, the Southfield Defendants filed a Motion for Summary Judgment.

        In an Opinion & Order issued on March 7, 2018, this Court granted the Motion for

Summary Judgment filed by the Southfield Defendants, and dismissed all claims against them.

(D.E. No. 214). This Court ruled that the individual Defendants were entitled to qualified

immunity as to Plaintiff’s § 1983 claims and that Plaintiff could not proceed with a Monell claim

against the City because there was no underlying constitutional violation. The Court further

ruled that Plaintiff’s conspiracy counts failed.

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       Thereafter, on April 4, 2018, the Southfield Defendants filed a Motion for Sanctions,

pursuant to 42 U.S.C. § 1988, arguing that Plaintiff’s cause of action against them was frivolous,

unreasonable, and without foundation. Plaintiff opposes the motion. The Court concludes that

oral argument would not aid the decisional process and therefore orders that the motion shall be

decided without oral argument.


       42 U.S.C. § 1988 provides ‘[i]n any action or proceeding to enforce a provision of

section . . . 1983, 1985 and 1986 of this title,” the “court, in its discretion, may allow the

prevailing party” a “reasonable attorney’s fee as part of the costs.” 42 U.S.C. § 1988(b). As

Defendants’ motion acknowledges, Defendants bear the burden of establishing entitlement to an

award under § 1988.

       “An award of attorney fees against a losing plaintiff in a civil rights action ‘is an extreme

sanction, and must be limited to truly egregious cases of misconduct.’” Riddle v. Egensperger,

266 F.3d 542m 547 (6th Cir. 2001) (quoting Jones v. Continental Corp., 789 F.2d 1225, 1232

(6th Cir. 1986)). Prevailing Defendants such as the Southfield Defendants should only recover if

the plaintiff’s action was frivolous, unreasonable, or without foundation, even though not

brought in subjective bad faith. Wayne v. Village of Sebring, 36 F.3d 517, 530 (6th Cir. 1994).

       Furthermore, “[t]he Supreme Court has instructed district courts considering prevailing

defendants’ applications for attorney fees to ‘resist the understandable temptation to engage in

post hoc reasoning by concluding that, because a plaintiff did not ultimately prevail, his action

must have been unreasonable or without foundation.’ Christiansburg, 434 U.S. at 421–22, 98

S.Ct. at 700. The decision is committed to the discretion of the trial judge, and is reviewed only

for abuse of discretion. Tarter, 742 F.2d at 986.” Wayne, 36 F.3d at 530.

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       While this Court ultimately ruled in favor of the Southfield Defendants, and granted

summary judgment in their favor, this Court concludes that this is not an egregious case that

warrants the extreme sanction of an attorney fee award under § 1988. Accordingly, the

Southfield Defendants’ Motion for Sanctions under § 1988 is DENIED.

       IT IS SO ORDERED.

                                             s/Sean F. Cox
                                             Sean F. Cox
                                             United States District Judge
Dated: May 24, 2018
I hereby certify that a copy of the foregoing document was served upon counsel of record on
May 24, 2018, by electronic and/or ordinary mail.
                              s/Jennifer McCoy
                              Case Manager




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